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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 SHARI L. OLIVER, et. al.,                   )     Case No. 2:24-cv-12962
             Plaintiffs,                     )
                                             )     Hon. GERSHWIN A. DRAIN
       v.                                    )     Mag. ELIZABETH A. STAFFORD
                                             )
 OAKLAND COUNTY FRIEND OF THE COURT,         )
 et. al.,                                    )
          Defendants.                        )


      PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AGAINST
                  DEFENDANT MATTHEW W. OLIVER

                    Attachment-1 INDEX OF EXHIBITS

  Exhibit     Attachment Description
  Number

      -2      Determination Letter showing that Plaintiff SHARI L. OLIVER,
              formerly Ober, was a sexual harassment victim in 2010 while
              employed by Takata.

      -3      Circuit Court, Oakland County, Family Division, Case No. 2020-
              880799-DC, MOTION TO CHANGE SUPPORT ORDER (FOC
              REFEREE HEARING ONLY), dated February 4, 2025.

      -4      Circuit Court, Oakland County, Family Division, Case No. 2020-
              880799-DC, NOTICE OF VIRTUAL HEARING IN RESPONSE TO
              IN PRO PER MOTION, dated February 7, 2025.




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  Exhibit    Attachment Description
  Number

     -5      Letter dated June 26, 2020 with enclosure DISMISSAL of Case No.
             2020-880799-DC (from Defendant SUSAN E. COHEN to Plaintiff
             SHARI L. OLIVER).

     -6      E-mails between Plaintiff SHARI L. OLIVER and Defendant MATTHEW
             W. OLIVER regarding children’s Spring Break 2024; Plaintiff Shari is
             not permitted travel outside of the State of Michigan with Plaintiffs
             M.A.O. and M.L.O.

     -7      Circuit Court, Oakland County, Family Division, Case No. 2020-
             880855-DM, UNIFORM CHILD SUPPORT ORDER –
             MODIFICATION, dated December 19, 2023.

     -8      February 19, 2025 E-mails between Plaintiff SHARI L. OLIVER and
             Defendant MATTHEW L. OLIVER. Defendant MATTHEW L. OLIVER’s
             e-mail states, “Shared custody isn't an option at this point.”




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